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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

EDUARDO QUEZADA-MARTINEZ,                       *
                                                *
               Petitioner,                      *
                                                *
               v.                               *         Civil Action No. 23-cv-12503-MJJ
                                                *
ANTONE MONIZ, Superintendent,                   *
Plymouth County Correctional Facility,          *
                                                *
                                                *
               Respondent.                      *
                                                *

                                        SERVICE ORDER

                                         October 24, 2023

JOUN, D.J.

       Immigration detainee Eduardo Quezada-Martinez has filed a petition for a writ of habeas

corpus under 28 U.S.C. § 2241.

       Upon review of the petition, the Court hereby orders:

       1.      The clerk of the court shall serve the petition on Respondent and the United States

Attorney for the District of Massachusetts.

       2.      Respondent shall, within 21 days of the date of this order, respond to the petition.

If Respondent moves to dismiss or otherwise opposes the petition, he must file a memorandum

setting forth the facts and legal arguments in support his position.

SO ORDERED.

                                                      /s/ Myong J. Joun
                                                      Myong J. Joun
                                                      United States District Judge
